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                                                                                          MAY 16 2019
                          IN THE UNITED STATES DISTRICT COURT                          ~A U.S. OISTrilCT COURT
                                                                                       l!;t\STERN DISTRICT OF MO
                              EASTERN DISTRICT OF MISSOURI                                      ST.LOUIS
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
            Plaintiff,                            )
                                                  )    N
v.                                                )          4:19CR00395 RLW/JMB
                                                  )
BRYAN G. VONDERAHE,                               )
                                                  )
            Defendant.                            )

                                          INDICTMENT

            THE GRAND JURY CHARGES:

                                          COUNTS 1-3
                                          WIRE FRAUD

A.   INTRODUCTION

       At all times relevant to the Indictment:

       1.        The Boyd Group is a business which operates a number of inter-related entities

that sell waterbeds and mattresses, and also own a number of real estate properties.      The inter-

related entities include Royal Waterbeds, d/b/a The Bedroom Store;    Boy~   Flotation, d/b/a Boyd

Sleep; Accent Furniture; and, Boyd Properties, Inc.     The Boyd Group and its inter-related

entities are located in the St. Louis, Missouri metropolitan area.

       2.        The defendant, BRYAN G. VONDERAHE (hereinafter referred to as

"VONDERAHE"), was The Boyd Group's Controller and Chief Financial Officer, beginning

his employment during 2007.      VONDERAHE was responsible for overseeing The Boyd

Group's financial and accounting activities and operations, preparing the company's financial

reports for the company's outside audit firm and its lending banks; and, maintaining the
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company's internal accounting and financial records.   VONDERAHE was an authorized

signatory on all of The Boyd Group's checking accounts, including specifically the Boyd

Properties, Inc. checking account.

       3.      Vonderahe's annual salary as Controller and Chief Financial Officer was

approximately $90,000, plus additional bonuses.

B.     SCHEME TO DEFRAUD

       4.      Beginning on or about January 1, 2012 and continuing through on or about

January 31, 2019, both dates being approximate and inclusive, in the Eastern District of Missouri

and elsewhere, defendant,

                                     BRIAN VONDERAHE,

devised, intended to devise, and knowingly participated in a scheme to defraud and obtain money

from The Boyd Group in an approximate amount of $3,800,000, by means of materially false

and fraudulent pretenses, representations, and promises.

       5.      It was a part of the scheme that, on one and more occasions, during and between
                                                                       '
2012 and 2019, defendant VONDERAHE, without the knowledge and authority of The Boyd

Group ownership, issued checks to himself written on the Boyd Properties, Inc. checking

account.    Defendant VONDERAHE signed those checks on behalf of Boyd Properties, Inc.,

and deposited those funds into his own personal checking account at Commerce Bank, Clayton,

Missouri, account number 31691 XXXX.

       6.      As part of his scheme, defendant VONDERAHE issued approximately 500 Boyd

Properties, Inc. checks to himself, without the authority and knowledge of The Boyd Group

ownership, depositing each of those checks into his own personal checking account.    Defendant

then used those unauthorized funds for his own personal use, unrelated to the business of The
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Boyd Group, including to pay for a lavish lifestyle; to pay for travel for himself and his family to

locations such as Florida, Colorado, and Las Vegas, Nevada; to make payments on his personal

residential mortgage; to pay for gambling and related activities; and to pay for other personal day

to day living expenses.

       7.      It was a further part of the scheme that, on one and more occasions, defendant

VONDERAHE falsely stated and represented to other employees of The Boyd Group that the

unauthorized checks written to himself from the Boyd Properties, Inc. checking account were to

repay himself for taxes he had purportedly paid on behalf of the company.      Further, defendant

VONDERAHE made one and more false entries in the internal books and records of The Boyd

Group in order to conceal his fraud scheme and his unauthorized issuance of Boyd Properties,

Inc. checks to himself.   As a further part of his scheme, and to conceal his scheme, defendant

VONDERAHE created one and more false financial statements and reports which were then

provided to The Boyd Group's outside audit firm and to one and more banks with lending

relationships with The Boyd Group.

       8.      As part of the scheme, and as a direct result of his false and fraudulent conduct

and representations, defendant VONDERAHE obtained approximately $3,800,000 from The

Boyd Group, without that company's knowledge or authority, which funds were deposited by

defendant into defendant's personal checking account at Commerce Bank, and which defendant

was not legitimately entitled to.   These funds were used by defendant for personal expenses

unrelated to the legitimate business of The Boyd Group.

C. THEWIRES

                                          COUNT ONE

       9.       On or about May 26, 2014, within the Eastern District of Missouri and elsewhere,
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for the purpose of executing the above-described scheme to defraud and to obtain money and

property by means of false and fraudulent pretenses, and representations, the defendant,

                                     BRIAN VONDERAHE,

did knowingly transmit and cause to be transmitted by means of wire communication in and

affecting interstate commerce, certain writings, signs, and signals, including a point of sale

withdrawal of $2,000, transmitted via the internet through the Global Cash Access System,

located at the Casino Queen casino, located in East St. Louis, Illinois, which resulted in funds

totaling $2,061.95 being withdrawn from defendant's personal Commerce Bank checking

account, number 31691X:XXX, located in Clayton, Missouri.        Defendant used the withdrawn

funds for his own personal use unrelated to the legitimate business of The Boyd Group.

       In violation of Title 18, United States Code, Section 1343.

                                          COUNT TWO

       10.     On or about December 28, 2017, within the Eastern District of Missouri and

elsewhere, for the purpose of executing the above-described scheme to defraud and to obtain

money and property by means of false and fraudulent pretenses, and representations, the

defendant,

                                      BRIAN VONERAHE,

did knowingly transmit and cause to be transmitted by means of wire communication in and

affecting interstate commerce, certain writings, signs, and signals, including a payment for

defendant's personal residential mortgage in the amount of $2,696.62, which funds originated

from defendant's Commerce Bank checking account, number 31691X:XXX, located in Clayton,

Missouri, and which funds were transmitted via the internet to Roundpoint Mortgage Servicing

Corporation through its payment processing center located in Ashburn, Virginia.
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       In violation of Title 18, United States Code, Section 1343.

                                         COUNT THREE

       11.     On or about January 11, 2018, within the Eastern District of Missouri and

elsewhere, for the purpose of executing the above-described scheme to defraud and to obtain

money and property by means of false and fraudulent pretenses, and representations, the

defendant,

                                     BRIAN VONDERAHE,

did knowingly transmit and cause to be transmitted by means of wire communication in and

affecting interstate commerce, certain writings, signs, and signals, including a payment for

defendant's personal use in the amount of $912.83, which funds originated from defendant's

Commerce Bank checking account, number 31691XXXX, located in Clayton, Missouri, and

which funds were transmitted via the internet to the Breckenridge, Colorado Ski School at

Beaver Run Resort, Colorado.

       In violation of Title 18, United States Code, Section 1343.

                                 FORFEITURE ALLEGATION

       The Grand Jury further finds by probable cause that:

       1.       Pursuant to Title 18, United States Code, Sections 982(a)(2), upon conviction of

an offense in violation of Title 18, United States Code, Section 1343 as set forth in Counts 1

through 3, the defendant shall forfeit to the United States of America any property, real or

personal, constituting or derived from proceeds traceable to said violation.

       2.       Subject to forfeiture is a sum of money equal to the total value of any property,

real or personal, constituting or derived from any proceeds traceable to said violation.

       3.       Specific property subject to forfeiture includes, but is not limited to, the
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following:

                       a. 2011 GMC Acadia Denali, VIN: 1GKKVTED8BJ340988;

                       b. 2013 Land Rover, Range Rover Sport, VIN: SALSK2D45DA810700;

                       c. Real Property known as 1943 Windy Hill Road, St Louis, MO 63122;
                          and,

                       d. Real Property known as 12539 Chardin Place, Unit 3, St. Louis, MO
                          63138

       4.       If any of the property described above, as a result of any act or omission of the

defendant:

                       a. cannot be located upon the exercise of due diligence;

                       b. has been transferred or sold to, or deposited with, a third party;

                       c. has been placed beyond the jurisdiction of the court;

                       d. has been substantially diminished in value; or

                       e. has been commingled with other property which cannot be divided

                           without difficulty,

the United States of America will be entitled to the forfeiture of substitute property pursuant to

Title 21, United States Code, Section 853(p).

                                                      A TRUE BILL.




                                                      FOREPERSON
JEFFREY B. JENSEN
United States Attorney




HAL GOLDSMITH, #32984MO
Assistant United States Attorney
